












Dismissed and Memorandum Opinion filed December 31,
2009.

&nbsp;

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-97-00161-CV

____________

&nbsp;

HAROLD L. SCOTT, Appellant

&nbsp;

V.

&nbsp;

FRANK DELGADO, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Civil Court at Law No. 2

Harris
County, Texas

Trial Court Cause
No. 640,247

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed December 31, 1996.&nbsp;
On June 12, 1997, this court abated the appeal because appellant petitioned for
voluntary bankruptcy in the United States Bankruptcy Court for the Southern
District of Texas, under cause number 97-41445.&nbsp; See Tex. R. App. P. 8.2.&nbsp; 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on April 29,
1998.&nbsp; The parties failed to advise this court of the bankruptcy court action.

On November 19, 2009, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices Yates,
Seymore, and Brown. 





